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Clerk of the Court,

United States District Court,
202 Harlow St., Third Floor, DEPgXYCL€Rh

Bangor, Maine 04401

Re: Alice Bainton v. Veterans Administration Medical Center

No. l:l3-cv-159-GZS

NOTICE OF APPEAL

The Veterans Administration has chosen to dismiss my case on the
basis of a technical error and the Court, plus the U.S. Attorney'S

Office have endorsed this decision.

To dismiss this Lawsuit would be a miscarriage of Justice. Our
precious Veterans deserve the finest of medical care, which means
they should expect an environment of safety, expertise, state of
the art equipment and genuine caring and concern. To involve
them in a vicious "game" is unthinkable, yet, it is happening -
not only to my husband but to other Veterans, as well. During
his time in the Service, my husband worked very hard and received
a gold star for his efforts in the Northern France Campaign. The
stress of his job caused a psychiatric condition, for which he
was treated at the Veterans Administration Medical Center, in
West Haven, CT. He loved the V.A. Hospital, where all were his
Brothers. After being successfully treated for urinary tract
infection, in March of 2010, he was transferred to a Rehab Unit
for a short period of time, before returning to the V.A. Contact
Nursing Home. Small increments of progress were being made and
Herb was;_still, able to communicate. Then, suddenly, without
consultation, he was transferred to the Palliative Care Unit and
I was told that he was so very sick that death was imminent.
(Fortunately, Herb's care was being monitored. An al Qaeda opera_
tive had been hired for the purpose of making my husband very
sick. Despite my protests, I was toldthatumrphine was being
administered in order to "shut down his organs, one by one.")

On April 29, 2010, Herb was electrocuted.

How can we as a Nation, allow such practices to persist? The
very best Armed Forces in the world cannot maintain their integ-
rity and strength if undermined by this type of corruption. My
Legal Case addresses these issues and should be allowed to pro-

ceed.
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Alice Bainton, Plaintiff

